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        EXHIBIT B
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 1                        UNITED STATES DISTRICT COURT
 2                       NORTHERN DISTRICT OF CALIFORNIA
 3                          SAN FRANCISCO DIVISION
 4                                      ---o0o---
 5
 6      ORACLE AMERICA, INC.,                     )
 7                  Plaintiff,                    )
 8        vs.                                     )       No. CV 10-03561 WHA
 9      GOOGLE, INC.,                             )
10                  Defendant.                    )
11      ______________________________)
12
13
14
15                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
16                    VIDEOTAPED DEPOSITION OF MARK REINHOLD
17                         WEDNESDAY, FEBRUARY 15, 2012
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24      PAGES 1 - 110
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 1            A     It added no value.                                       10:34:44AM

 2            Q     Did you consider any -- strike that.

 3                  In the course of ranking the technology

 4      groups, did you consider any literature regarding

 5      the importance of certain features to consumers of                   10:35:03AM

 6      the mobile smartphone platform?

 7            A     No.

 8            Q     In coming up with the ranking of the

 9      technology groups, did you rely on any quantitative

10      testing of performance aspects of the mobile                         10:35:20AM

11      smartphone platform?

12            A     No.

13            Q     Is there any quantitative aspect to the

14      ranking of the technology groups?          And by that I

15      mean how much more valuable, for instance, is Group                  10:35:30AM

16      1 than Group 2?

17                  MR. HOLTZMAN:     Objection; form.

18                  THE WITNESS:    We did not do any kind of

19      quantitative analysis to compare the groups.             It was

20      qualitative based on our collective experience.                      10:36:00AM

21      BY MR. PURCELL:

22            Q     As you sit here today, do you have any

23      opinion as to how quantitatively the various groups

24      in the ranking would compare to one another?

25            A     Do you mean quantitatively -- in what                    10:36:18AM

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 1      sense do you mean the word --                                        10:36:21AM

 2            Q     I can ask it more precisely.

 3                  As you sit here today, do you have any

 4      opinion as to how much more valuable in terms of a

 5      percentage Group 1 would be than Group 2?                            10:36:27AM

 6                  MR. HOLTZMAN:     Objection; form.

 7                  THE WITNESS:    So our direction was not to

 8      be making, you know, value judgments.           We were

 9      making technical judgments.

10      BY MR. PURCELL:                                                      10:36:45AM

11            Q     And I -- I understand the limits of your

12      direction.    But as you sit here today as an

13      experienced engineer, do you have any opinion in

14      quantitative terms as to how much more valuable

15      Group 1 in your ranking is than Group 2?                             10:36:55AM

16                  MR. HOLTZMAN:     Objection; form.

17                  THE WITNESS:    I do not have a quantitative

18      opinion, only a qualitative one.

19      BY MR. PURCELL:

20            Q     Would you be able to develop a                           10:37:06AM

21      quantitative opinion?

22            A     Well, given sufficient time.

23            Q     What would you need to do in order to

24      develop a quantitative opinion regarding the

25      comparative value of the groups within your ranking?                 10:37:18AM

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 1                  MR. HOLTZMAN:     Objection; form.                       10:37:22AM

 2                  THE WITNESS:    Would have to sit down and

 3      assemble various bits of code and do some

 4      experiments, take measurements and so forth.             But

 5      even then, I think -- I'm not sure it's actually                     10:37:32AM

 6      possible to come up with a comprehensive

 7      quantitative understanding of these, because you're

 8      basically asking for an exploration -- an

 9      exploration of a very large technical design space

10      in which many different kinds of choices can be                      10:37:53AM

11      made.     So I think it would be quite difficult to do.

12      BY MR. PURCELL:

13            Q     I was asking about a comparison of Group 1

14      versus Group 2.

15                  Are you able to provide any quantitative                 10:38:09AM

16      comparison of the value of Group 1 versus the value

17      of one of the groups tied for 16th?

18                  MR. HOLTZMAN:     Objection; form.

19                  THE WITNESS:    So we did no quantitative

20      analysis.                                                            10:38:26AM

21      BY MR. PURCELL:

22            Q     As you sit here today, do you have any

23      sense whether the patents in Group 1 are twice as

24      valuable, five times as valuable, 100 times as

25      valuable as the patents in the least valuable                        10:38:39AM

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 1      groups?                                                              10:38:41AM

 2                  MR. HOLTZMAN:     Objection; form.

 3                  THE WITNESS:    So insofar as we did value

 4      judgments, they are reflected in the overall rank.

 5      You can look at this table and groups that are tied                  10:38:51AM

 6      for 16th, you know, we didn't think any of those

 7      were -- were important enough to rank them highly on

 8      speed, startup, footprint or security, so that's a

 9      qualitative judgment.      That's really all I have to

10      say.                                                                 10:39:12AM

11      BY MR. PURCELL:

12             Q    So there is no quantitative judgment that

13      you're able to make comparing the value of different

14      groups?

15                  MR. HOLTZMAN:     Objection; form.                       10:39:21AM

16                  THE WITNESS:    If by "quantitative," you

17      mean a judgment backed up by hard data based on

18      measurements, no, we did not do such experiments.

19      BY MR. PURCELL:

20             Q    And you would need hard data backed up by                10:39:30AM

21      experiments in order to make a quantitative

22      assessment of the value of the relevant technology

23      groups?

24                  MR. HOLTZMAN:     Objection; form.

25                  THE WITNESS:    Correct.                                 10:39:39AM

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 1      order of magnitude, at least amongst this group,                   10:43:41AM

 2      usually means at least a factor of 2, not

 3      necessarily a factor of 10.

 4            Q     And so a 2 ranked patent would be a patent

 5      that would contribute a performance improvement                    10:43:54AM

 6      below a factor of 2?

 7            A     Correct.   Ballpark there would be, you

 8      know, at least 10 or 20 percent.

 9            Q     In determining which of the patents would

10      enable an order of magnitude improvement versus not,               10:44:15AM

11      did you rely on any performance testing?

12            A     No.

13            Q     Did you rely on any kind of quantitative

14      testing at all?

15            A     No.                                                    10:44:26AM

16            Q     What was the basis for determining whether

17      a patent would contribute an order of magnitude

18      performance improvement?

19            A     The collective experience of these five

20      engineers.                                                         10:44:38AM

21            Q     Talking a little bit about the four other

22      engineers on the team, who was it who selected those

23      four engineers to assist you?

24            A     My recollection is they were -- they were

25      originally suggested by counsel, and when those                    10:45:14AM

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 1                  THE WITNESS:    One could develop a                      12:13:41PM

 2      quantitative assessment.       It would take time.

 3      BY MR. PURCELL:

 4            Q     And you haven't done that, as you sit here

 5      today, correct?                                                      12:13:47PM

 6            A     Correct.

 7            Q     So if I were to ask you today how much

 8      more valuable the boot group patents were in terms

 9      of a percentage than the JIT group patents, could

10      you give me a quantitative answer to that?                           12:13:58PM

11            A     No.   I should say even a quantitative

12      answer based on experiment, it's not clear that it

13      would be persuasive.

14            Q     Why not?

15            A     Amongst these patents, we're talking --                  12:14:16PM

16      we're looking at a fairly complex technical design

17      space in which different choices can be made.             As it

18      turns out, there are patents even amongst these top

19      22 where one would probably choose either one or the

20      other and not both, at least not in the near term.                   12:14:37PM

21            Q     Can you think of any particular groups of

22      patents among the top 22 where a prospective user

23      would choose to use one or the other but not both?

24            A     So within the boot group, there are good

25      examples right there.      The patents listing an                    12:15:00PM

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 1      inventor of Gregorz Czajkowski are primarily about                 12:15:05PM

 2      the MVM technology we discussed earlier.

 3                  The patents with inventor Nedim Fresko are

 4      about the mtask technology.

 5                  In the context of a hypothetical                       12:15:22PM

 6      smartphone platform in 2006, one would have -- one

 7      would have chosen one or the other but not both.             In

 8      the long-term evolution of such a platform, one

 9      might eventually want both but not at the beginning.

10            Q     With respect to the 12 patents rated                   12:15:48PM

11      number 1 in the JIT group, are there any of those

12      where a prospective user would have chosen to use

13      one or the other but not both?

14            A     Amongst the JIT group, there are some

15      patents there that one almost certainly would not                  12:16:04PM

16      have used in the year 2006 or 2007 because they are

17      generally only of benefit when you have a faster

18      processor or more than one processor core.            But

19      later on, in the hypothetical lifetime of a

20      Sun/Google cooperatively developed platform, those                 12:16:27PM

21      would have been useful later on.

22            Q     So from the perspective of somebody in

23      2006, they might not have thought those patents were

24      useful at the present time but might have seen five

25      years down the line those patents actually having                  12:16:44PM

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 1      versus qualitative assessments.                                        12:25:16PM

 2                   Does the absence of any quantitative

 3      assessments on your part, in your mind, affect the

 4      validity or reliability of what you did?

 5                   MR. PURCELL:    Object to the form.                       12:25:27PM

 6                   THE WITNESS:    No.

 7      BY MR. HOLTZMAN:

 8            Q      Why not?

 9            A      So these qualitative assessments were made

10      collectively by this group of highly experienced                       12:25:35PM

11      engineers.     As I said earlier, we have amongst us

12      more than 75 years of experience working in these

13      areas.      I'm confident that the judgments we've made

14      are the best that possibly could be made given the

15      time limits of the exercise.                                           12:25:58PM

16                   As I've suggested earlier, I also think a

17      quantitative analysis that would somehow rank all of

18      these patents in linear order from 1 to 569 is

19      actually intellectually infeasible because of all

20      the different choices amongst these very patents                       12:26:19PM

21      that one could make.

22                   MR. HOLTZMAN:     Okay.    Thanks.      That's all

23      I have.

24                   MR. PURCELL:    Nothing further.

25                   THE VIDEOGRAPHER:      This is the end of                 12:26:30PM

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                                      ) :ss
 2      COUNTY OF SAN FRANCISCO )
 3
 4             I, KELLI COMBS, CSR NO. 7705, a Certified Shorthand
 5      Reporter of the State of California, do hereby certify:
 6             That the foregoing proceedings were taken before me
 7      at the time and place herein set forth; that any
 8      witnesses in the foregoing proceedings, prior to
 9      testifying, were placed under oath; that the verbatim
10      record of the proceedings was made by me using machine
11      shorthand which was thereafter transcribed under my
12      direction; further, that the foregoing is an accurate
13      transcription thereof.
14             I further certify that I am neither financially
15      interested in the action nor a relative or employee of
16      any attorney of any of the parties.
17             IN WITNESS WHEREOF, I have this date subscribed my
18      name.
19
20             Dated:________________
21
22
23                              ___________________________________
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